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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0579V
                                      Filed: April 19, 2017
                                          Unpublished

****************************
EVANGELINE STAVRETIS,      *
                           *
               Petitioner, *
v.                         *
                           *                               Attorneys’ Fees and Costs;
SECRETARY OF HEALTH        *                               Special Processing Unit (“SPU”)
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                                                  *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On May 16, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleged that as a result of receiving the influenza (“flu”) vaccine on
November 10, 2014, she suffered a shoulder injury that was caused-in-fact by her
vaccination. On November 30, 2016, the undersigned issued a decision awarding
compensation to petitioner based on respondent’s proffer. (ECF No. 21).

       On March 28, 2017, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 28). Petitioner requests attorneys’ fees in the amount of $12,207.00 and attorneys’
costs in the amount of $821.06 for a total amount of $13,028.06. Id. at 2. In

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses. Id. Respondent did not file a response to
petitioner’s motion.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

     Accordingly, the undersigned awards a total of $13,028.06, 3 representing
reimbursement for attorneys’ fees and costs, in the form of a check jointly
payable to petitioner and petitioner’s counsel, Paul R. Brazil.

        The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
